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               IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF VIRGINIA
                        ABINGDON DIVISION

EDWINNA DONNELL CECIL,                         )
                                               )
                  Plaintiff,                   )     Case No. 1:19CV00024
                                               )
v.                                             )             ORDER
                                               )
MISSY WOODWARD, ET AL.,                        )     By: James P. Jones
                                               )     United States District Judge
                  Defendants.                  )


      This action was filed on June 10, 2019. More than 90 days have elapsed and

no proof of service on any of the defendants has been filed. On October 9, 2019, the

Court directed Plaintiff to show cause within 14 days why the defendants should not

be dismissed without prejudice pursuant to Federal Rule of Civil Procedure 4(m).

ECF No. 2. No such cause has been shown. Accordingly, the action against the

defendants is DISMISSED without prejudice.

      The Clerk shall close the case.

      It is so ORDERED.



                                             ENTER: November 4, 2019

                                             /s/ James P. Jones
                                             United States District Judge
